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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


     COLONEL FINANCIAL MANAGEMENT
     OFFICER, et al., on behalf of himself and others
     similarly situated,

           Plaintiffs,

     v.                                             CASE NO. 8:22-cv-1275-SDM-TGW

     LLOYD AUSTIN, Secretary of the
     Department of Defense, et al.,

           Defendants.
     ___________________________________/


                                            ORDER

           The defendants move (Doc. 256) to stay because the National Defense Au-

     thorization Act for Fiscal Year 2023 requires the Secretary of the Department of De-

     fense within thirty days to rescind the August 24, 2021 COVID-19 vaccine mandate.

     The motion requests a stay of all deadlines, “including those related to discovery and

     the January 2023 trial,” for forty-five days. The plaintiffs oppose (Doc. 260), and a

     hearing occurred on December 30, 2022 at 11:00 A.M.

           For the reasons explained during the hearing, the request for a continuance of

     the trial is GRANTED. The bench trial is re-scheduled to begin FEBRUARY 27,

     2023, and the dispositive motion deadline is extended until JANUARY 18, 2023.

     But the balance of the motion — the request (Doc. 256) to stay discovery and all

     other deadlines is — DENIED. If after a good faith conferral the parties cannot
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     resolve the pending disputes about the scheduling and scope of the depositions and

     other discovery, a party may move for relief and receive prompt resolution from the

     magistrate judge.

           ORDERED in Tampa, Florida, on December 30, 2022.




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